






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00044-CR






Lloyd Anthony Nelson, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF MILAM COUNTY, 20TH JUDICIAL DISTRICT

NO. CR21890, HONORABLE ED MAGRE, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N


		Appellant's court-appointed attorney filed a brief concluding that the appeal is
frivolous and without merit.  The brief meets the requirements of Anders v. California, 386 U.S. 738
(1967), by presenting a professional evaluation of the record demonstrating why there are no
arguable grounds to be advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988); High v. State,
573&nbsp;S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d 684 (Tex. Crim. App. 1974);
Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972); Gainous v. State, 436 S.W.2d 137
(Tex.&nbsp;Crim. App. 1969).  Appellant received a copy of counsel's brief and was advised of his right
to examine the appellate record and to file a pro se brief.  No pro se brief has been filed.

		We have reviewed the record and counsel's brief and agree that the appeal is
frivolous&nbsp;and without merit.  We find nothing in the record that might arguably support the appeal. 
See&nbsp;Bledsoe v. State, 178 S.W.3d 824, 826-27 (Tex. Crim. App. 2005).  Counsel's motion to
withdraw is granted.

		The judgment of conviction is affirmed.


						__________________________________________

						Diane M. Henson, Justice

Before Chief Justice Jones, Justices Waldrop and Henson

Affirmed

Filed:   October 28, 2009

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